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                                             UNITED STATES JUDICIAL PANEL
                                                          on
                                              MULTIDISTRICT LITIGATION



IN RE: JOHNSON & JOHNSON TALCUM
POWDER PRODUCTS MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION                                                                                   MDLNo.2738



                                               (SEE ATTACHED SCHEDULE)



                                       CONDITIONAL TRANSFER ORDER (CT0-151)



On October 4, 2016, the Panel transferred 10 civil action(s) to the United States District Court for
the District of New Jersey for coordinated or consolidated pretrial proceedings pursuant to 28 U.S'.C.
§ 1407. See 220 F.Supp.3d 1356 (J.P.M.L. 2016). Since that time, 1,149 additional action(s) have
been transferred to the District ofNew Jersey. With the consent of that court, all such actions have
been assigned to the Honorable Freda L. Wolfson.

It appears that the action(s) on this conditional transfer order involve questions of fact that ate
common to the actions previously transferred to the District of New Jersey and assigned to Judge
Wolfson.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Ljtj2atjon, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
District of New Jersey for the reasons stated in the order of October 4, 2016, and, with the consent
of that court, assigned to the Honorable Freda L. Wolfson.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the District of New Jersey. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-daypetiod, the·stay will be continued until further order of the Panel.

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                                                               John W. Nichols
                                                               Clerk of the Panel
  Case 4:19-cv-00149-WTM-CLR Document 5 Filed 07/10/19 Page 2 of 2

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IN RE: JOHNSON & JOHNSON TALCUM
POWDER PRODUCTS MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION                                                                   MDLNo.2738


                  SCHEDULE CT0-151-TAG-ALONG ACTIONS



                      C.A.NO.      CASE CAPTION

CALIFORNIA NORTHERN

                      19 Q3715     Stlffl:hi Y. JehHseH & JehHseH et el   Opposed 7/2/19

GEORGIA SOUTHERN

  GAS         4       19-00149     Lumsden v. Johnson & Johnson et al

MISSISSIPPI SOUTHERN

  MSS         3       19-00450     Moore v. Johnson & Johnson

MONTANA

  MT          9       19-00110     Wiles v. Morris et al
